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DOCKET ENTRIES

GWLGLA: SANE ON MULT DESY RrcCr LITLGATION

- In re Academy Life Insurance.Company Estate Conservation..Plan Litigation

 

 

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“NOTION, BRIEF, SCHEDULE OF ACTIONS -- Academy Life Insurance
Company -- A- i through A-17 -- w/cert. of service. Suggested
| Transferee District: E.D. Pa. ‘(rew)

cnty

| APPEARANCES: JAMES W. CRABTREE, ESQ. for Academy Life

| Insurance Co., et al., PATRICK PF, McMANEMIN, ESQ. for Jack M.
'Amason, Amason Holding Coe, L. Gary. Troth, Joy Fulton,
‘Lincoln Life Ins. Co.; RANDALL J. FORBES, ESQ. for Alexander
/ J. Stone; DONALD E. SHULTZ, ESQ. for Elva L. Housman, et al.;
» LEONARD BARRACK, ESQ. for Sight Improvement Center Pension
-Plan; RICHARD C. SMITH, ESQ. for Gulf Life Insurance Co. and
_Leo Lebos, Jr.; WESTON C. LOEGERING, ESQ. for William R.
Lane; KENNETH S. CARROLL, ESQ. for Academy Services, Inc.;
“HARLEY S. TROPIN, ESQ. for David McLaws, Midwestern Marketing
Service, Ira Thomas, Nationwide Marketing Service (cds)

‘ APPEARANCES: THOMAS W. ST. JOHN, ESQ. for General Life Ins.
-Corp. of Wis.; PATRICK B. HOWELL, ESQ. for Maurice O.
-Harvill; JOHN C. BUTERA, ESQ. for Academy Insurance Group;
“ROBERT R. TEPPER, ESQ. for Southeast Life Ins. Co. of Florida
| (cds)

'Letter w/Amended Certificate of Service -- Academy Life Ins.
‘Co. -- (attached to pleading no. 1) (eds)

i REQUEST FOR EXTENSION OF TIME -- Sight Improvement Center
'Pension Plan -- GRANTED TO AND INCLUDING FEBRUARY 14, 1985
' (eds)

| REQUEST FOR EXTENSION OF TIME -- Guif Life Insurance Co. --
,GRANTED TO AND INCLUDING FEBRUARY 12, 1985 (cds)

RESPONSE -- Academy Insurance Group -- w/cert. of service
‘ (eds)

RESPONSE -- William R. Lane -- w/cert. of service (cds)

"RESPONSE, BRIEF -- Southeast Life Insurance Co. of Florida --
w/cert. of service (cds)

RESPONSE -- defts. Ira L. Thomas, David McLaws, Midwestern
Marketing Services, Inc., and Nationwide Marketing Systems,
Ine. -- w/cert. of service (cds)

“RESPONSE -- Academy Services, Ince. -- w/cert. of service
‘ (eds)

- RESPONSE, BRIEF -- Elva L. Housman -- w/cert. of service

 
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DOCKET ENTRIES

JUDICIAL PANEL ON MOLTIDISTRICT LITIGATION

 

 

Pleadct

 

85/02/12 RESPONSE -- Jack Amason, Amason Holding Co., Lincoln Life
Ins. Co., Jack Amason d/b/a Jack Amason Agency and Joy Fulton
-- w/cert. of service (cds)

85/02/12 CROSS-MOTION (A-1 - A-17 EXCLUDES A-10) -- 12 PARTIES: Jack
Amason, Amason Holding Co., Lincoln Life Ins. Co., Jack
Amason d/b/a Jack Amason Agency and Joy Fulton; William R.
Lane; Andy Springer; Fred Thomas; FAA Leasing Co. and Big
River, Inc. -- w/Brief, Schedule and cert. of service,
SUGGESTED TRANSFEREE DISTRICT: N.D.TEXAS (cds)

85/02/12 RESPONSE -- Gulf Life Ins. Co. and Leo Lebos, Jr. -- w/cert.
of service (cds)

85/02/12 RESPONSE -- General Life Insurance Corp. of Wise. -- w/cert.
of service (cds)

85/02/13 AMENDMENT TO MOTION TO TRANSFER (adding A-18) -- Academy Life
Insurance Company -- w/cert. of service (cds)

85/02/13 RESPONSE -- Maurice O. Harvill -- w/cert. of service (cds)

85/02/14 RESPONSE -- Sight Improvement Center Pension Pian and Waldo
Coons -- w/cert. of service (cds)

85/02/15 APPEARANCE: R. L. McSPEDDEN, ESQ. for Loyson Gary Troth. (cds)

85/02/20 CORRECTED AMENDED MOTION -- Academy Life Ins. Co. (Attached
to pleading no. 14) (eds)

85/02/21 HEARING ORDER -- Setting motion and cross-motion to transfer
for Panel Hearing on March 28, 1985 in Los Angeles, Calif. (emh)

85/02/21 RESPONSE -- Alexander J. Stone -- w/cert. of service (cds)

85/02/22 REPLY -- Academy Live Insurance Co. -- w/Attachments and
cert. of service (cds)

85/02/22 APPEARANCE: ERNEST E. FIGARI, JR., ESQ. for InterFirst Bank Galleria, N.A. (cds)
85/02/25. APPEARANCE -- WILLIAM G. ADAMSON, ESQ. for Jack A. Brown (ds)
85/03/01 .; RESPONSE/BRIEF -~ deft. InterFirst Bank Galleria, N.A.

w/eert. of sve. (ds)

85/03/08 7 APPEARANCE: STEPHEN A. KHOURY, ESQ. for Andy Springer (ds)

 

 

 
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JUDICIAL PANEI ON -MULPRTDISPRICD LLTIGATION

-- In re Academy Life Insurance Company Estate Conservation

 

Plan Litigation

 

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AMENDMENT OF MOTION -- amending motion to include A-19 Herman
A. Roth v. Academy Life Insurance Co., et al., S.D. Indiana,

“CVA. NO. EV-85-94-C | -- Academy Life: Insurance Co. w/eert. of

svc. Notified involved counsel. (ds)

‘| AMENDMENT TO MOTION:+~ amending motioin to include A~-20

Gerald E. Ernest. Et al. v.’ Academy Life Inéurarceé. Group,
Inc., N.D. Ohio, C.A. No. C-85-7316 -- filed by Academy Life
Insurance Co. w/cert. of sve. Notified involved counsel.
(ds)

_ HEARING APPEARANCES: JAMES W..CRABTREE, ESQ. for Academy Life
“Insurance Co.,: and Pension ‘Services, Ine. 3 PATRICK: F,

| MCMANEMIN, ESQ. for Jack Amason,’Amason Holding Co., et al.,

Lincoln Life Insurance Co., L. Gary Troth:and-Joy Fulton;
LEONARD BARRACK, ESQ. for Sight Improvement Center Pension
Plan; WILLIAM B. KILLIAN, ESQ. for Gulf’ Life Insurance Co.
and Leo Lebos, Jr.3 ROBERT R. TEPPER, ESQ. for Southeast Life
Insuranee Co.-of Florida; KENNETH R. HEITZ, ESQ.- for General
Life Ins. Co. of Wisconsin; ERNEST E. FIGARI, JR., ESQ. for
InterFirst Bank Galleria, N.A. (rh)

WAIVER OF ORAL ARGUMENT: Alexander J. Stone; Jack A. Brown;
William R. Lane; Academy Insurance Group; David Mchaws;
Midwestern Marketing Service; Ira Thomas; Nationwide
Marketing Service; Andy Springer; Maurice 0. Harvill (rh)

SUPPLEMENTAL MEMORANDUM BRIEF -- Amason Holding Co., Lincoln
Life Insurance Co., Jack M. Amason, L. Gary broth, and Joy
Fulton w/eert. of svc. (ds)

j © yt

SUBSTITUTION OF COUNSEL-- Deleting Weston Loegering,

“peplacing it with Jim Lane for’ Mr. WILLTAM R. DANE (emh )

CONSENT TO TRANSFEREE COURT -- for transfer or Litigation to
N.D. Texas to the Hon. Barefoot Sanders pursuant to 28 U.S.C.
§1407 (rh)

ORDER -- transferring A-12,.A-14, A-15, A-16,. A-17.
consolidate with A-3,A-4, A-5, A-6 to the N.D. Texas pursuant
to 28 U.S.C. §1407; order also denied A-1, A-2, A-8, A-19,
A-20; order made no determine on A-7, A-18. Notified
involved counsel, clerks, judges and misc. recipients (rh)

 
FORM 1A
DOCKET ENTRIES

JUDICTAL PANEL ON MULTIDISTRICT LITIGATION
In re Academy Life Insurance Company Estate Conservation

 

Plan Litigation

 

 

pleading Description

 

 

85/09/05 |.GONDETIONAL TRANSFER ORDER -FILED TODAY rs Br2i Aeademy Life
Insurance Co. v. Lincoln. Life:.Insurance., Co. oibeD. ;

.| Pennsylvania, C.A.:NO., 85-2947. (LB): -~ Notified. involved
counsel and judges (ph) on boy Cob bss a
85/09/23 CONDITIONAL TRANSFER ORDER FINAL TODAY -- B=21.,Academy Life
Insurance Co. v. Lincoln Life Insurance Co., E.D. Pa., C.A.
:No» 85-2947 (LB) --- Notified» involved: judges,and glerks (rh)

85/09/23 NOTICE OF OPPOSITION TO CTO (B-21 Academy Life Insurance Co.
v. Lineoln Life Insurance Co., E.D. Pa., C.A. No. 85-2947
(LB)) -- pltf. Academy Life Insurance Co. -- Notified
involved counsel (OPPOSITION RECEIVED AFTER STAY LIFTED, TOLD
TRANSFEREE DISTRICT NOT PROCESS ORDER AND TO RETURN OUR
PAPERS) (eds)

85/09/30 MOTION TO VACATE CTO -- (B-21 Academy Life Insurance Co. v.
Lincoln Life Insurance Co., E.D. Pa., C.A. No. 85-2947(LB) --
plt. Academy Life Insurance Co. -- w/cert. of service (eds )

85/10/18 HEARING ORDER -- setting opposition Academy Life Insurance

Co., to transfer B-21 Academy Life Insurance Co. v. Lincoln
Life Insurance Company for hearing on 11/21/85 om Portland

Oregon (paa)

85/10/29 LETTER W/ATTACHMENT -- dated October 24, 1985 and signed by
J. Kent Davenport counsel for Lincoln Life -- w/eert. of

. Service, {eds ) oe L PA

85/11/04 . ” SUPPLEMENTAL BRIEF IN SUPPORT. OF MOTION. “0, VACATE cto -- (to

pldg. #24) Academy | Life Insurance Co. -- Weert. of sve. (rh)

85/11/21 HEARING APPEARANCE -< JAMES We ‘CRABTREE, “ESQ... for. Academy

Life Insurance Co. (paa)

85/11/21 WAIVER OF “ORAL ARGUMENT -- Bankers. Protective ‘Lire. ‘Insurance
Company; Academy Life Insurance Company; Ralph Plummer;
Academy Life Insurance Company Estate Conservation Plan
Litigation, et al. (paa)

85/12/02 ORDER DENYING TRANSFER -- B-21 Academy Life Insurance Co. v.
Lincoln Life Insurance Co., E.D. Pennsylvania, C.A. No.
85~2947 (LB) -- Notified involved clerks, judges, counsel and
mise. recipients. (ds)

 

 

 
JPML Form 1
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Revised: 8/78
DOCKET NO. 634  -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION
CAPTION:

a

In re Academy Life Insurance Company Estate Conservation Plan Litigation

SUMMARY OF LITIGATION

 

Hearing Dates Orders Trans feree
3/28/85
Los Angeles, CA

 

Dates Filed Type Citation District Name of Judge
4/22/85 . TO Unpublisbed |Tex.,N.

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Assigned From

 

Barefoot Sanders

 

 

 

MDL-634-H Special Transferee Information

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DOCKET NO. 634

LISTING OF INVOLVED ACTIONS

In re Academy Life Insurance Company Estate Conservation Plan Litigation

 

 

 

Intra-
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Academy Life Insurance Company,
et al. v. Gulf Life Inusrance
Company, et al.

Academy Life Insurance Company,
et al. v. General Life Insurance
Company Of Wisconsin, et al.

Jack Amason v. Academy Services,
Inc,

Amason Holding Company, et al. v.
Academy Life Insurance Company,
et al.

Academy Life Insurance Company,
et al. v. Jatik M. Amason, et al.

Lincoln Life Insurance Co.
Academy Life Insurance Co.

Ve
Alexander J. Stone, etc., et al. v.
Academy Life Insurance Co., et.al.

Elva L. Housman,
Life Insurance Co.,

etc. v. Academy
et al,

Lois I. Harmon vy. Academy Life
Insurance: Company, et al.:.

S.D.Fla,
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DOCKET NO. ©34 In re Academy Life Insurance Company Estate Conservation Plan Litigation
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Office and Action TransferfransfereeDismissal
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# 2-10 In re Academy Insurance Securities E.D.Pa,iMaster Fite » Ne
Litigation : No. 83-6026 ‘NY
. NA ’
A-1l1 lAcademy Life Insurance Co., et al. v. |E.D.Pa. |84-4990
Dean Barney ce Katz
A-12 |Academy Life Insurance Co., et al. v. |E.D.Pa. |84-4988 eile g5- 07914
Jack A. Brown Cahn YT
A-13  |Academy Life Insurance Co.,et al. v. E.D. PaJ84-4989 A
Hugh Maxwell Roth Shapiro
bale gS OF22 Abe
A-14 |Academy Life Insurance Co., et al. v. |E.D.Pa. |84-4987 rhales §
Steve Serafimidis Lord
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A-15 jiAcademy Life Insurance Co., et al. v. |E.D.Pa. |85~0370 Y[eq(as
Mary Katherine Ersley hiles ; af /..
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A-16 |Academy Life Insurance Co., et al. v. |E.D. Pa,| 85-0371 ii
Ralph Fern Green \ ,
Ny 11095 PhAy
A-17 |Academy Life Insurance Co., et al. v. |E.D.Pa. 65-0369 thal 5 y
Joe Zito Giles
A-18 Academy Life Insurance Co., et al. v. N.D.Tex. | 3-85-0152-G — {p+ Use 4
XY 2. InterfFrst Bank Galleria, N.A. Fish
A-19 Herman A. Roth v. Academy Life S.D.Ind.|EV-85-94-C se- Bpenie dm
Insurance Co., et al. Brooks.
A-20 Gerald E. ERnst, et al. v. Academy N.D.Ohio C-85-7316 - - f+
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B- \ Academy Life Insurance Co., v. Lincoln|E.D.Pa.| 85-2947
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JPML Form 4

 

ATTORNEY SERVICE LIST
JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

Plan Litigation

(Liaison counsel designated by iL. SandersOrdey

DOCKET NO.634 -- In re Academy Life Insurance Co. Estate Conservation.

filed on9/3/85)

 

ACADEMY LIFE INSURANCE Co, -

ACADEMY SERVICES INC.

PENSION LIFE INSURANCE CO. OF
AMERICA

PENSION SERVICES, INC.

James W. Crabtree, Esq.

Smathers & Thompson

2170 Charlotte Plaza

Charlotte, N.C. 28244

JACK M. AMASON

GARY TROTH

AMASON HOLDING CoO.

JACK AMASON AGENCY

BIG RIVER, INC.

LINCOLN LIFE INSURANCE CO
FAA LEASING CO., INC.

J. Kent Davenport, Esquire
Newman, Shook & McManemin, P.C.
2050 Americas Tower
Dallas, Texas 75201

BANKERS PROTECTIVE LIFE INSURANCE CO.
Greg White, Esquire

McGregor & White

P.O. Box 8193

Waco, TExas 76710

 

INTERFIRST BANK GALLERIA, N.A.
Ernest Figari, Esqurie
Johnson & Swanson

Founders Square

900 Jackson Street

Dallas, Texas 76202-4499

JACK A. BROWN

Franklin H. Perry, Esquire
Thompson, Coe, Cousins & Irons
2001 Bryan Tower, Suite 1000
Dallas, Texas 75201

RALPH PLUMMER
J. Grant McCabe, III, Esquire
Rawle & Henderson

211 South Broad Street
Philadelphia, Pa. 19107

MARY KATHERINE EARSLEY
Robert K. Frisch, Esquire
Frisch & Foreman

‘1125 Frito Lay Tower

P.O. Box 4553A

Dallas, Texas 75245

 

 

 
JPML Form 4

 

ATTORNEY SERVICE LIST
JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO. 634

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In re Academy Life Insurance Company Estate Conservation

 

 

Plan Litigation

 

 

ACADEMY LIFE INSURANCE CO., ET AL.
(A-1; A-2; A-5; A-1l; A-12; A-13;
A-14; A+15; A-16; A-17 (also defendant
in some actions)
James W. Crabtree,
Smathers & Thompson
2170 Charlotte Plaza
Charlotte, NC 28244.

Esquire

JACK AMASON (A-3)

AMASON HOLDING COMPANY, ET AL. (A-4)
LINCOLN LIFE INSURANCE CO. (A-6)
JOY FULTON

J. Kent Davenport,. Esquire
Newman, Shook & McManemin.

2323 Bryan, 2050 Americas Tower,
Dallas, Texas 75201

LB135

ELVA L. HOUSMAN, ET AL. it
Donald E. Shultz, Esquire’ he ‘
Shult2-& Associates A ye
108 Wes

   

Post Office Box 14323 nay
ge City, Kansas 66601 s

JACK A. BROWN

Franklin H. Perry, Esquire

Thompson, Coe, Cousins & Irons

2001 Bryan Tower
Suite 1000
Dallas, Texas 75201

 

SIGHT IMPROVEMENT CENTER PENSION PLAN
(Pltf£. in A-10)

Ieonard Barracky Esquire aetediok
Barrack, Rodos & Bacine Ley a
Suite 2100.” ma J
1845 Walnut Street a lowet of
Philadelphia, PA 19103

MR. WILLIAM R. LANE
Jim Lane, Esquire

Lane, Lane, Ware & Bays
204 W. Central
Fort Worth, Texas 76106
ACADEMY SERVICES, INC.

Kenneth S. Carroll, Esquire
Johnson & Cravens

1355 Mercantile Dallas Building
Dallas, Texas 75201

SOUTHEAST LIFE INSURANCE CO. OF FLORIDA
Robert R. Tepper, Esquire

Rosenthal & Schanfield

55 East Monroe Street

Chicago, Illinois 60603

ANDY SPRINGER
Stephen A. Khoury,
Kelson & Kelsoe
5830 Aplha Road
Suite 161

Dallas,

Esquire

Texas 75240

 
 

 

JPML FORM 4A -- Continuation

DOCKET NO. --

 

Panel Attorney Service List -- p.

 

 

 

 

JACK AMASON AGENCY _
BIG RIVER, INC.

BANKERS PROTECTIVE LIFE INS. CO.

FAA LEASING CoO.

(no appearance reciver)
Charles McGregor, Esquire
McGregor & White

P.O. Box 8193
Waco, Texas 76710

UNABLE TO DETERMINE COUNSEL
FOR THE FOLLOWING PARTIES:

JOE ZITO
KEVIN KOOYMAN
RANDY KUHLER
RALPH FERN

AMERICAN INTERNATIONAL MARKETING

DAVID G. HANNA
MIKE DAVIS
AARON WADROP

ACADEMY INSURANCE GROUP

John C. Butera, Esquire

Butera, Beausang, Moyer & Cohen
700 Valley Forge Plaza

King Prussia, PA 19406

INTERFIRST BANK GALLERIA, N.A.
Ernest E. Figari, Jr., Esquire
Johnson & Swanson

Founders Square

900 Jackson Street

Dallas, Texas 75202

LOYSON GARY TROTH

R. L. McSpedden, Esquire

Collie, McSpedden & Roberts
333 Lee Parkway,
Dallas,

Suite 850

Texas 75219

Ron V. Berkowitz,
Wilkinson & Oliver
12221 Merit Drive
Suite 1450
Dallas, Texas

Esquire

75240

 

FREDERICK THOMAS (no appearance received)
v

 

 

JPML FORM 3

COMMON PARTY CHECKLIST -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET no . ©34 _. In re Academy Life Insurance Company Estate Conservation
Plan Litigation

Name of Par

Gulf Life Insura

Leo Lebos, Jr

David McLaws

Midwest Market rvices

Nationwide
Servic

Southeast Life Insur
Company oO

Frederick Thomas

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Michael Armo

 

Named as Par

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in Following Actions

1

 

 
Donna Ferguson

Melbin Connel
Dennis Patrid

lf Life Age

neral Life Insur
rp. of Wis

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| Daniel G.

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Neen

Academy Services, Inc.

Academy Life Insurance

Jack M. Amason

 
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COMMON PARTY CHECKLIST -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO.
tigation

Name of Par

N Amason Holding Company

Andy Springer

Loyson Gary Troth

Joe Zito

Steve Young

Kevin Kooyman

Randy Kuhler

Ralph Fern

“ |William R. Lane

Jack Amason Agency

 

a

 

Named as Par

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634 __ In re Academy Life Insurance Company Estate Conservation Plan

in Following Actions

 

 
 

American International
Marketing

nceoln Life Insurance
mpany

AA Leasing Company

Banker's Protective Life
Insurance Company

 

~oy Fulton

David G. Hanna

ke Davis

Aaron Wadrop

Dean Barn

Jack Brown

 
 

JPML FORM 3
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COMMON PARTY CHECKLIST -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO. 634 --

Name of Part Named as Par in Following Actions

Steve Serafimidis

unt Bank
dalhbrue, N.Q.

 
